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     IT IS ORDERED as set forth below:



     Date: June 16, 2022
                                                             ________________________________
                                                                         Paul Baisier
                                                                 U.S. Bankruptcy Court Judge

  _______________________________________________________________

                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

IN RE:                                                   :         CHAPTER 11
                                                         :
ATLANTA LIGHT BULBS, INC.,                               :         CASE NO. 22-52950-PMB
                                                         :
                          Debtor.                        :         JUDGE BAISIER
                                                         :
                                                         :
SUN COURT PARTNERS, LP,                                  :
                                                         :
                          Movant,                        :
                                                         :
v.                                                       :       CONTESTED MATTER
                                                         :
ATLANTA LIGHT BULBS, INC.,                               :
                                                         :
                          Respondent.                    :
                                                         :

ORDER GRANTING MOTION OF SUN COURT PARTNERS, LP FOR RELIEF FROM
THE AUTOMATIC STAY, FOR REJECTION OF THE LEASE NUNC PRO TUNC AND
       FOR ABANDONMENT OF ANY PROPERTY IN THE PREMISES

          THIS MATTER is before the Court on Sun Court Partner, LP’s (“Landlord” or

“Movant”) Motion for Relief from the Automatic Stay, for Rejection of the Lease Nunc Pro

Tunc and for Abandonment of any Property in the Premises (“Motion”) [Docket No. 28].

Movant contends service was proper upon all parties. A hearing on the Motion was held on June

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13, 2022, at which the Debtor did not appear. Kathleen G. Furr and Jason M. Torf appeared on

behalf of The Official Committee of Unsecured Creditors of Atlanta Light Bulbs, Inc. Michael

D. Robl and Max Bowen appeared on behalf of Jesse Root. Thomas Dworschak appeared on

behalf of the United States Trustee. Kristen Yadlosky appeared on behalf of the Movant. This

matter having come before the Court, and there being no opposition to the relief sought in the

Motion; accordingly, it is hereby

      ORDERED that the Motion is GRANTED; it is further Ordered that

     1.      The automatic stay of 11 U.S.C. § 362(a) is modified to allow Movant to take

             possession of the leased premises and to otherwise enforce its contractual, state law

             and statutory rights to the leased premises including (without limitation) taking all

             necessary steps to evict the Debtor from the Premises located at Suite 460, 2 Sun

             Court, Peachtree Corners, Gwinnett County, Georgia 30092 (“Premises”);

     2.      The Lease between the Debtor and Movant is deemed rejected nunc pro tunc to the

             Petition Date pursuant to 11 U.S.C. § 365(a);

     3.      Any property remaining in the leased premises be deemed abandoned pursuant to 11

             U.S.C. § 554(a);

     4.      Notwithstanding the foregoing, Landlord shall not dispose of any property

             remaining in the Premises until thirty (30) days after the entry of this Order;

     5.      Nothing in this Order shall be deemed to limit Movant’s claim for prepetition

             amounts owed under the Lease or Landlord’s claim for lease rejection damages

             pursuant to 11 U.S.C. § 502(b)(6);

     6.      The automatic stay of 11 U.S.C. § 362(a) is further modified to allow Tandem Bank

             to take possession of any property remaining in the Premises and to otherwise

             enforce its contractual, statutory and state law rights in and to said property;
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          7.         The stay of Rule 4001(a)(3) is modified so that Movant and/or Tandem Bank may

                     immediately proceed under this Order; and

          8.         The Court shall retain jurisdiction to hear and determine all matters arising from

                     the implementation of this Order.



                                             [END OF DOCUMENT]

PREPARED AND SUBMITTED BY:
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Reviewed as to Form Only:                     Reviewed as to Form Only:
                                              MARY IDA TOWNSON
                                              REGION 21
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          -and-

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                                         DISTRIBUTION LIST

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          Atlanta Light Bulbs, Inc.                  American Express Travel Related Services
          2109 Mountain Industrial Blvd              Co., Inc.
          Tucker, GA 30084                           c/o Zwicker and Associates, P.C.
                                                     Attorneys/Agents for Creditor
                                                     P.O. Box 9043
                                                     Andover, MA 01810-1041

          Bryan Kaplan                               CBC Lighting Inc.
          6065 Roswell Road, Suite 540               Kaplan Legal Services, LLC
          Atlanta, GA 30328                          6065 Roswell Road, Suite 540
                                                     Atlanta, GA 30328

          Fanlight Corporation, Inc.                 Ford Motor Credit Company, LLC
          c/o Simpson, Uchitel & Wilson, LLP         Drawer 55-953
          P.O. Box 550105                            P.O. Box 55000
          Atlanta, GA 30355-2505                     Detroit, MI 48255-0953

          Hatch Transformers, Inc., d/b/a Hatch      Worldwide Specialty Lamp, LLC
          Lighting                                   c/o Bryan Kaplan, Esq.
          c/o Simpson, Uchitel & Wilson, LLP         6065 Roswell Road, Suite 540
          P.O BOX 550105                             Atlanta, GA 30328
          Atlanta, GA 303055-2505

          Halco Lighting Technologies, LLC           Candela Corporation
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          Norcross, GA 30071                         Huntington Beach, CA 92649

          Norcross Electric Supply Company
          4190 Capital View Drive
          Suwanee, GA 30024




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